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                          IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA
                                   COLUMBIA DIVISION


Career Counseling Inc.,                        )        CA No. 3:16-03013-JMC
                                               )
                                               )
                       Plaintiff,              )
                                               )             AMENDED
               vs.                             )        SCHEDULING ORDER
                                               )
Amerifactors Financial Group, LLC.             )
                                               )
                                               )
                       Defendant.              )


       The Court amends the Conference and Scheduling Order filed January 5, 2021, as
follows:


1.     All other motions, except (a) those relating to the admissibility of evidence at trial and
       (b) those to compel discovery, shall be filed no later than October 28, 2021. (Fed.
       R. Civ. P. 16(b)(2)). See below ¶ 11 for motions in limine deadline.

2.     No later than February 1, 2022, the parties shall file and exchange Fed. R. Civ. P.
       26(a)(3) pretrial disclosures. Within fourteen (14) days thereafter, a party shall file
       and exchange Fed. R. Civ. P. 26(a)(3) objections, any objections to use of a deposition
       designated by another party and any deposition counter-designations under Fed. R. Civ.
       P. 32(a)(6).

3.     Mediation shall be completed in this case on or before November 29, 2021. See Judge
       Childs’ Standing Mediation Order which sets forth mediation requirements.

4.     Motions in limine must be filed no later than February 1, 2022.

5.     Parties shall furnish the Court pretrial briefs seven (7) days prior to the date set for trial.
       Attorneys shall meet at least seven (7) days prior to the date set for submission of
       pretrial briefs for the purpose of exchanging and marking all exhibits. See Local Civil
       Rule 26.07.

6.     This case is subject to being called for jury selection and trial on or after March 1, 2022.

       A request for a continuance of the trial date must be agreed to and signed by the
party and his attorney requesting and/or consenting to the continuance.



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        The court directs the parties’ attention to Local Rule 7.00 which governs motion
practice. Hearings on motions are not automatic. The court may decide motions without
a hearing. If a party opposes a motion which has been filed, that party must file a
response to the opposed motion within fourteen (14) days of the date the motion was filed.
If no such response in opposition is filed, the court will assume that the party consents to
the court’s granting the motion.




                                                   s/J. Michelle Childs
                                                   J. Michelle Childs
                                                   United States District Judge
September 7, 2021
Columbia, South Carolina




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